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                                         U.S. Department of Justice


                                         United States Attorney
                                         Eastern District of New York
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                                         610 Federal Plaza
                                         Central Islip, New York 11722-4454

                                         September 7, 2011

VIA HAND and ECF

Honorable Denis R. Hurley
United States District Judge
Eastern District of New York
920 Federal Plaza
Central Islip, New York 11722

           Re: United States v. Salvatore Avellino
           Criminal Docket No. 90-446 (DRH)

Dear Judge Hurley:

          I write in response to the Court’s July 19, 2011 order.
Specifically, the Court wanted to know

     whether a defendant, via a plea agreement, may legally
     agree . . . to have his periods of supervised release
     upon multiple counts of conviction run consecutive to
     one another rather than concurrently as provided in 18
     U.S.C. § 3624(e).

July 19, 2011 Order. While the response to the Court’s query
requires some explication, for the reasons set forth below, the
government concurs with the United States Probation office’s
request to modify the terms of Avellino’s supervised release.

DISCUSSION

          Senior United States Probation Officer Edward J.
Kanaley ably summarized the procedural history of this matter in
his July 12, 2011 memorandum to the Court. By way of summary, on
February 17, 1994, the releasee pled guilty before the Honorable
Eugene H. Nickerson, Sr.. During the plea colloquy, Avellino
allocuted to Racketeering Acts 15(A), 52, and 53 within Count 1,
and Counts 29, 70, 71, and 72 of a 72-count superseding
indictment. This plea resulted from a February 11, 1994 Plea
Agreement that, inter alia, expressly called for a total
supervised release term of 21 years. Judge Nickerson sentenced
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Mr. Avellino on July 29, 1994 to a custodial term of 126 months,
to be followed by a total supervised release term of 21 years,
all of which was directly anticipated by the stipulations
contained in the Plea Agreement. Specifically, Judge Nickerson,
consistent with the plea agreement, calculated the supervised
release term by running consecutive the terms of the five
individual counts of conviction.

          The first question is whether the governing statutes
permit such a supervised release procedure. Title 18, United
States Code, Section 3624(e) provides that each term of
supervised release “runs concurrently” with any other term of
supervised release “to which the person is subject or becomes
subject during the term of supervised release.” 18 U.S.C.
§3264(e). As the Court noted in its July 19, 2011 order, the
plain and ordinary language of this statute suggests that no
consecutive terms of supervised release may be imposed. The
circuits agree.

          In United States v. Gullickson, 982 F.2d 1231 (8th Cir.
1993), the Eighth Circuit held that 3624(e) unambiguously
requires concurrent supervised release on multiple convictions.
Id. at 1236; see also United States v. Ravoy, 994 F.2d 1332, 1337
(8th Cir. 1993)(supervised release terms run concurrently);
United States v. Saahir, 47 F.3d 1178 (10th Cir. 1995) (accord).
Although recognizing that courts have imposed consecutive terms
of supervised release without discussion of the issue,
Gullickson, 982 F.2d at 1236 n. 1, the court nonetheless
concluded that consecutive terms of supervised release are
impermissible, id. at 1235-1236.

          This is not to suggest that Judge Nickerson committed
any type of error. Indeed, during the time period of Avellino’s
sentencing, numerous courts in the Second Circuit imposed
consecutive terms of supervised release without challenge. See,
e.g., United States v. Beverly, 5 F.3d 633, 637 (2d Cir. 1993);
United States v. Torres, 901 F.2d 205, 248-51 (2d Cir. 1990);
United States v. Bakhtiari, 729 F.Supp. 11, 13 & n. 1 (S.D.N.Y.
1989), aff'd in part, vacated in part, and remanded on other
grounds, 913 F.2d 1053 (2d Cir. 1990). Moreover, contemporaneous
Second Circuit law suggested that a district court had the
ability to depart from the supervised release maximums. See,
e.g., United States v. Pico, 966 F.2d 91, 92 (2d Cir. 1992) (per
curiam) (“The only supervised release term that was consistent
with both [Section 3624(e)] and the Guidelines was five years.
Thus, the life term of supervised release imposed by the district
court was outside the Guidelines range. A district court may, of
course, depart from a properly calculated Guidelines range . . .
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.”).   The issue, however, has since become settled.

          Approximately ten years after Avellino’s guilty plea
and sentencing, the Second Circuit weighed in on the issue. In
United States v. Sash, 396 F.3d 515 (2d Cir. 2005), the defendant
pleaded guilty to fraud and counterfeiting, for which he received
a sentence including consecutive three-year and five-year
supervised release terms. 396 F.3d at 525. The Second Circuit
concluded that “multiple terms of supervised release . . . must
run concurrently, pursuant to 18 U.S.C. § 3624(e). Therefore, . .
. the ‘total maximum lawful term of supervised release here was
three years’ . . . [and] [t]he eight-year term of supervised
release imposed by the District Court constituted plain error.”
Id.; see also United States v. Barrios, No. 08-4354-CR, 374 Fed.
Appx. 56, 57 (2d Cir. March 9, 2010). The Second Circuit
therefore considers these sentences to be in error even where
there was a guilty plea and even if there was no objection at the
time of sentencing. See Sash, 396 F.3d at 525.

          At the time of Avellino’s sentencing hearing, Judge
Nickerson was faced with unsettled Second Circuit case law and a
stipulated sentence. Under those circumstances, it is difficult
to assign error to that sentence. However, the core of this case
law comes from the statute itself, which unequivocally imposes
these maximum terms of supervised release. Therefore, the state
of the case law, while explanatory, does not change the
applicability of the maximums set forth in Section 3624(e).

          The Court raises a slightly more subtle question: can
this statutory maximum term of supervised release nonetheless be
waived? The short answer is “yes.” The longer answer is that,
while a defendant may possibly make such a waiver, the specific
facts in the instant case do not support such a finding.

          Plea waivers are necessarily elastic. A “waiver of
appeal rights includes even those rights not yet recognized at
the time the parties entered into the plea agreement.” United
States v. Hamdi, 432 F.3d 115, 126 (2d Cir. 2005). The Second
Circuit warns against reliance upon a “declaratory provision in a
plea agreement bearing none of the indicia of an explicit waiver,
or even of an obligation between the parties . . . .” Id.
Stated differently, “[a]n arguably ambiguous plea provision not
denominated as a waiver, and which would not have been understood
as a waiver by the parties at the time they entered into the
agreement, may not be so transformed ex post . . . .” Id. In
the instant case, the plain language of the plea agreement
memorializes the parties’ stipulated sentence, including the
precise supervised release term. Therefore, the agreement as to
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the dimensions of the supervised release term are clear. It is
less clear, although still a close question, that the stipulation
acted as a waiver of the statutory rights identified in Section
3624(e). See United States v. Yemitan, 70 F.3d 746 (2d Cir.
1995) (“[A]ll those negotiating appeal waiver provisions in plea
agreements should be careful to use language that carries out
their precise intentions. . . .”). Against the backdrop of that
ambiguity, the government declines to argue that Avellino
expressly and unequivocally waived the statutory maximum term of
supervised release.

CONCLUSION

          For the foregoing reasons, the government concurs with
the Probation Department’s request to modify the terms of
Avellino’s supervised release term.



                                   Respectfully submitted,

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